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4
     Attorney for Defendant
5    TOU HER

6

7                           IN THE UNITED STATES DISTRICT COURT

8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,              )    2:15-CR-00115 TLN
                                            )
11                             Plaintiff,   )    STIPULATION AND ORDER
                                            )    TO CONTINUE JUDGMENT AND SENTENCING
12   v.                                     )
                                            )
13                                          )
     TOU HER,                               )
14                                          )
                             Defendant.     )
15   __________________________________     )

16
                                        STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
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     Assistant United States Attorney Matthew M. Yelovich, and defendant, Tou Her,
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     by and through his counsel, Erin J. Radekin, agree and stipulate to vacate
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     the date set for judgement and sentencing, September 29, 2016 at 9:30 a.m.,
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     in the above-captioned matter, and to continue sentencing to October 13, 2016
22
     at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
23
           The reason for this request is to allow additional time for probation
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     to review the records provided by the defense.   The court requested medical
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     records verifying Pakoula Yang’s diagnosis and treatment for breast and lung
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     cancer.    Ms. Radekin provided all medical records for Ms. Yang in her
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     possession to probation and the government last week; however, among the
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1    records there is no letter from Ms. Yang’s physician confirming her present

2    diagnosis and prognosis.

3          On Friday, September 23, 2016, Ms. Yang requested a letter from Dr.

4    Lynch, her current doctor, regarding her treatment at the Cancer Treatment

5    Center of America in Arizona and, on the date below, the defense received the

6    letter and provided it to probation and the government.    Insufficient time

7    remains, however, for probation to review the letter as well as all prior

8    records provided by the defense last week and to prepare a memorandum for

9    sentencing.   The Court is advised that Mr. Yelovich and United States

10   Probation Officer Lynda Moore concur with this request and Mr. Yelovich has

11   authorized Ms. Radekin to sign this stipulation on his behalf.

12         Accordingly, the parties respectfully request the Court adopt this

13   proposed stipulation.

14   IT IS SO STIPULATED

15   Dated: September 27, 2016                    PHILLIP A. TALBERT
                                                  Acting United States Attorney
16

17                                        By:      /s/ Matthew M. Yelovich
                                                  MATTHEW M. YELOVICH
18                                                Assistant United States Attorney

19
     Dated: September 27, 2016                     /s/ Erin J. Radekin
20                                                ERIN J. RADEKIN
                                                  Attorney for Defendant
21                                                TOU HER

22
                                          ORDER
23
           For the reasons set forth in the accompanying stipulation and
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     declaration of counsel, the judgment and sentencing date of September 29,
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     2016 at 9:30 a.m. is VACATED and the above-captioned matter is set for
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     judgment and sentencing on October 13, 2016 at 9:30 a.m.
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     IT IS SO ORDERED.
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1    Dated: September 27, 2016
                                                Troy L. Nunley
2                                               United States District Judge
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                                 Stipulation and Order - 3
